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: C.-S.-S.-C.-P.-S.-G.-P. FLAG OF THIS DOCUMENT-POSTAL-VESSEL-COURT-VENUE.

                                 UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                           EUGENE DIVISION

In the matter of:                                         Case No.: 6:19-cv-01071-AA

James-Brent: Alvarez,                                     PLAINTIFF’S MOTION TO EXTEND
               an individual,                             DISCOVERY AND PRETRIAL DEADLINES
                                                                **AMENDED**
        v.

Luke Sitts, an individual;
Geri Brooks, an individual;
Scott Geeting, an individual;
Steven Barrett, and individual;
Don Morris, an individual;
Matthew Carmichael, an individual;
Michael H. Schill, an individual,

                Defendants.




**Plaintiff had the due dates for discovery and pretrial deadlines incorrect and fixed them, and also forgot
to add a case in his cliff note. These are the only two Amendments to the Plaintiff’s Motion.
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                                        LR 7-1 CERTIFICATION

                 Plaintiff certifies that he conferenced by phone and email with council for Defendant’s on
the matter’s herein and Defendant’s take no position on the matter. Note: I had only asked for one month
in my conference by email, but realized two months makes much more sense.

                                                   MOTION

                 In accordance with Fed. R. of Civ. P. 6(b) LR 16-3, and without waiver of any rights,
plaintiff, respectfully, moves the Court for an order extending the discovery and pretrial deadlines.
Specifically, plaintiff requests the discovery and dispositive motion deadlines be extended by two months.
Current deadline for discovery is November 12, 2020 and proposed deadline is January 12, 2021. Current
deadline for dispositive motions is December 11, 2020 and proposed deadline is February 11, 2021.

                                                   MEMORANDUM

                 This motion is made in good faith and not for the purpose of delay. Plaintiff’s request
for this extension of time is for the following reasons:

                 1.      Plaintiff’s Complaint is in flux over the deprivation of his constitutional rights by
the Court’s Opinion and Order. At a bare minimum plaintiff needs to write a third amended complaint on
excessive force alone and adjust his damages accordingly.

                 2.      Plaintiff has contract work that still needs to be finished up the month of
November, 2020, and further, has multiple hearings and deadlines over the next few weeks on other cases.
This has been Plaintiff’s schedule the past two and a half months, and thereby, he has been slow to finish
his contract work (and has yet to be paid) because of the amount of deadlines and hearings he has to
attend the past month and a half in litigation.1

                 3.      The parties have engaged in some discovery. However, Plaintiff has yet to serve
Defendant’s with his interrogatories due to his busy schedule and because he is trying to get his complaint
squared away first. Specifically, with his claims for deprivation of constitutional rights.

                 4.      This is the Third request for an extension of discovery and dispositive motion
deadlines, and plaintiff does not anticipate needing further extensions to the requested dates.
____________________
1
 Please take Judicial Note of Plaintiff’s current cases in litigation: 6:19-cv-01071-AA, 6:20-cv-01656-
AA, 19DR16524, 20PO08025, 20CV29649, 20CN03727, (DHS) 925497 and time is needed the case.

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                                             CONCLUSION


                For the reasons stated above, Plaintiff respectfully requests the Court enter a scheduling
order extending the discovery and dispositive motion deadlines as requested above.

                DATED this 12th day of November, 2020.

                                                                  THE PLAINTIFF.

                                                                  s/: James-Brent: Alvarez. UCC 1-308
                                                                  : James-Brent: Alvarez.




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                                      CERTIFICATE OF SERVICE

                I hereby certify that I served the foregoing Plaintiff’s Motion to Extend Discovery and
PretTrial Deadlines on:

        Namoi Levelle Haslitt, OSB No. 075857
        naomi.haslitt@millernash.com
        Iván Resendiz Gutierrez, OSB No. 154617
        ivan.resendiz@millernash.com
        MILLER NASH GRAHAM & DUNN LLP
        3400 U.S. Bancorp Tower
        111 S.W. Fifth Tower
        Portland, Oregon 97204
        Telephone: 503.224.5858
        Fax: 503.224.0155

        Attorneys for Defendants
        Luke Sitts, et al.

by the following indicated method of service set forth below:

        Email: as agreed on by all parties involved during the Covid-19 situation, until either party
terminates the agreement.

                DATED this 12th day of November, 2020.

                                                  s/James-Brent: Alvarez UCC 1-308
                                                  James-Brent: Alvarez
                                                  c/o 30924 Kenady Lane
                                                  Cottage Grove, Oregon [97424]




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